Case 10-93904-BHL-11      Doc 2591     Filed 06/06/14     EOD 06/06/14 15:33:49    Pg 1 of 7




                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF INDIANA
                               NEW ALBANY DIVISION

 IN RE:                                       )
                                              )
 EASTERN LIVESTOCK CO., LLC,                  )         Case No. 10-93904-BHL-11
                                              )
                      Debtor.                 )

    FOURTH INTERIM APPLICATION OF KROGER, GARDIS & REGAS, LLP FOR
           COMPENSATION AND REIMBURSEMENT OF EXPENSES
              AS SPECIAL COUNSEL TO CHAPTER 11 TRUSTEE

          Kroger, Gardis & Regas, LLP ("KGR"), as special counsel to James A. Knauer,

 the chapter 11 trustee appointed in this case ("Trustee") hereby makes its fourth interim

 application ("Application") for the allowance and payment of its fees incurred as special

 counsel to the Trustee and for reimbursement of out-of-pocket expenses advanced by

 KGR. In support of this Application, KGR states as follows:

     1.         Petitioning creditors commenced the above-captioned Chapter 11 case

 ("Chapter 11 Case") against Debtor on December 6, 2010 ("Petition Date") by filing an

 involuntary petition for relief under Chapter 11 of title 11 of the United States Code, 11

 U.S.C. §§ 101 et seq. ("Bankruptcy Code"). This Court entered its Order For Relief In

 An Involuntary Case And Order To Complete Filing on December 28, 2010 (ECF No.

 110).

     2.         On December 27, 2010, the Court entered its Order Approving The

 Appointment Of James A. Knauer As Chapter 11 Trustee (ECF No. 102), ("Trustee

 Order"), approving the United States Trustee's Notice Of Appointment And Application

 for Order Approving Appointment of Trustee (ECF No. 98) pursuant to 11 U.S.C. §

 1104.
Case 10-93904-BHL-11         Doc 2591   Filed 06/06/14   EOD 06/06/14 15:33:49    Pg 2 of 7




      3.         On February 12, 2012, the Trustee filed his Application to Employ Kroger,

 Gardis & Regas, LLP as Special Counsel to the Trustee, and attached a proposed letter

 agreement ("Fee Letter Agreement") detailing fees under which KGR would serve as

 the Trustee's special counsel.

      4.         Following Notice, the Court entered its Order Granting Application to

 Employ Kroger, Gardis & Regas, LLP as Special Counsel to the Trustee on March 13,

 2012, pursuant to the terms of the Fee Letter Agreement attached to the Application.

      5.         Following the entry of the Court's Order, KGR has acted as special

 counsel to the Trustee in the investigation of various claims on behalf of the Debtor's

 bankruptcy estate, and has pursued avoidance actions, promissory note collection

 cases, and foreclosure actions on behalf of the Trustee and the estate.

      6.         This Application is the fourth interim application filed by KGR seeking

 compensation for actual, necessary services rendered by KGR on behalf of the Trustee

 and reimbursement of out-of-pocket expenses advanced by KGR on behalf of the

 Trustee for the period September 1, 2013 through and including April 30, 2014.

      7.         KGR has performed a variety of services on behalf of the Trustee, all of

 which are described in detail in the billing statements attached as Exhibit A.

      8.         The Fee Letter Agreement between the Trustee and KGR sets forth a fee

 arrangement whereby:

           (a)   KGR's attorneys would charge an hourly rate of $175.00 per hour (well

           below KGR's normal rates in matters such as these);

           (b)   KGR would also be entitled to seek an additional contingent fee of 25% of

           any recovery, provided that the total fee does not exceed 2 1/2 times KGR's

           standard hourly rates.


                                              2
Case 10-93904-BHL-11       Doc 2591     Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 3 of 7




          9.   Exhibit A provides the detail of the time and the normal hourly billing rate

 for each attorney and paralegal in each case being handled by KGR, as well as time

 expended in the general litigation of these matters.     Exhibit B provides a summary

 worksheet of the time in each of these cases, and the billing for that case pursuant to

 the KGR fee arrangement set forth in the Fee Letter Agreement. A summary of the fees

 requested by KGR, including the number of hours worked, the billing rate requested and

 the total fees claimed, is set forth below:

                 Attorney                       Rate Hours                     Value
Jay P. Kennedy                                 $175.00   136.00                         $23,800.00
Jennifer L. Watt                               $175.00   312.70                         $54,722.50
Amanda D. Stafford                             $175.00   599.40                        $104,895.00
Steve E. Runyan                                $175.00   106.10                         $18,567.50
Kevin D. Koons                                 $175.00       .50                            $87.50
Harley K. Means                                $175.00      4.60                           $805.00
Tammy J. Froelich (paralegal)                  $125.00     93.60                        $11,700.00
Total Hours                                             1252.90                        $214,577.50

    10.        KGR has advanced the sum of $3,639.71 for out-of-pocket expenses

 incurred in connection with this case during the period from September 1, 2013 through

 and including April 30, 2014. A summary of the out-of-pocket expenses incurred by the

 Trustee is set forth at Exhibit C.

    11.        This Application is the fourth application of KGR for interim compensation.

 Previously the Court has awarded compensation and reimbursement of expenses to

 KGR as follows:

               (a) Pursuant to the Order Granting First Interim Application of Kroger,

 Gardis & Regas, LLP for Compensation and Reimbursement of Expenses as Special

 Counsel to Chapter 11 Trustee (ECF No. 1650) (“First Interim Compensation Order”),

 the Court approved KGR’s hourly fees and expenses incurred, and contingent fees

 earned, for the period February 21, 2012 through and including October 31, 2012, in the

                                               3
Case 10-93904-BHL-11      Doc 2591   Filed 06/06/14   EOD 06/06/14 15:33:49    Pg 4 of 7




 amounts of $45,287.50, $1,833.89 and $8,804.65 respectively. KGR has been paid

 $54,699.79 on account of the fees and expenses approved by the First Interim

 Compensation Order.

              (b) Pursuant to the Order Granting Second Interim Application of Kroger,

 Gardis & Regas, LLP for Compensation and Reimbursement of Expenses as Special

 Counsel to Chapter 11 Trustee (ECF No. 2346) (“Second Interim Compensation

 Order”), the Court approved KGR’s hourly fees and expenses incurred for the period

 November 1, 2012 through and including February 28, 2013 in the amounts of

 $167,927.50 and $1,833.89 respectively. KGR has been paid $106,681.85 on account

 of the fees and expenses approved by the Second Interim Compensation Order.

              (c) Pursuant to the Order Granting Third Interim Application of Kroger,

 Gardis & Regas, LLP for Compensation and Reimbursement of Expenses as Special

 Counsel to Chapter 11 Trustee (ECF No. 2422) (“Third Interim Compensation Order”),

 the Court approved KGR’s hourly fees and expenses incurred for the period March 1,

 2013 through and including August 31, 2013 in the amounts of $246,132.50 (Fees) and

 $1,919.43 (Expenses) and the contingent fee award of $73,756.26, totaling

 $321,808.19. KGR has been paid $238,514.67 on account of the fees and expenses

 approved by the Third Interim Compensation Order.

    12.       No agreement or understanding exists between KGR and any other

 person or entity for the sharing of compensation received for services rendered in

 connection with this case.

    13.       All services rendered and all expenses incurred for which compensation or

 reimbursement is sought have been rendered or incurred exclusively by KGR and




                                           4
Case 10-93904-BHL-11       Doc 2591     Filed 06/06/14   EOD 06/06/14 15:33:49       Pg 5 of 7




 represent necessary and proper services rendered in the administration of this Chapter

 11 Case.

    14.       Consistent with the Third Interim Compensation Order, KGR’ seeks

 authority and approval from the Court for an order authorizing the Trustee to pay 80% of

 the fees and 100% of the expenses from the Trustee’s operating account to KGR,

 subject to available funds, with payment of the remaining 20% of the fees to be made

 upon further order of the Court approving the final fee application filed by or on behalf of

 KGR.

          WHEREFORE, Kroger, Gardis & Regas, LLP requests (i) the Court award

 compensation to KGR on account of its actual and necessary hourly fees in the amount

 of $214,612.50; (ii) the Court order reimbursement for out-of-pocket expenses incurred

 in the amount of $3,639.71; and (iii) grant KGR all other just and proper relief.

                                                  Respectfully submitted,

                                                  KROGER, GARDIS & REGAS, LLP

                                                         /s/ Jay P. Kennedy
                                                  Jay P. Kennedy, special counsel for
                                                  James A. Knauer, Trustee


 Jay P. Kennedy
 KROGER, GARDIS & REGAS, LLP
 111 Monument Circle, Suite 900
 Indianapolis, IN 46204-5125
 317-692-9000
 jpk@kgrlaw.com




                                              5
Case 10-93904-BHL-11               Doc 2591     Filed 06/06/14           EOD 06/06/14 15:33:49           Pg 6 of 7




                                      CERTIFICATE OF SERVICE

        I hereby certify that on June 6, 2014, a copy of the foregoing pleading was filed
 electronically. Notice of this filing will be sent to the following parties through the Court's
 Electronic Case Filing System. Parties may access this filing through the Court's
 system.

   David L. Abt                          Amelia Martin Adams                       John W. Ames
   davidabt@mwt.net                      aadams@dlgfirm.com                        james@bgdlegal.com
   Kay Dee Baird                         Christopher E. Baker                      Robert A. Bell
   kbaird@kdlegal.com                    cbaker@thbklaw.com                        rabell@vorys.com
   C. R. Bowles, Jr                      David W. Brangers                         Steven A. Brehm
   cbowles@ bgdlegal.com                 dbrangers@lawyer.com                      sbrehm@ bgdlegal.com
   Kent A Britt                          Kayla D. Britton                          Joe Lee Brown
   kabritt@vorys.com                     kayla.britton@faegrebd.com                Joe.Brown@Hardincounty.biz
   Lisa Koch Bryant                      John R. Burns, III                        John R. Carr, III
   courtmail@fbhlaw.net                  john.burns@faegrebd.com                   jrciii@acs-law.com
   Deborah Caruso                        Ben T. Caughey                            Bret S. Clement
   dcaruso@daleeke.com                   ben.caughey@icemiller.com                 bclement@acs-law.com
   Joshua Elliott Clubb                  Jason W. Cottrell                         Kirk Crutcher
   joshclubb@gmail.com                   jwc@stuartlaw.com                         kcrutcher@mcs-law.com
   Jack S. Dawson                        Dustin R. DeNeal                          Laura Day Delcotto
   jdawson@millerdollarhide.com          dustin.deneal@faegrebd.com                ldelcotto@dlgfirm.com
   David Alan Domina                     Daniel J. Donnellon                       Trevor L. Earl
   dad@dominalaw.com                     ddonnellon@ficlaw.com                     tearl@rwsvlaw.com
   Shawna M. Eikenberry                  Jeffrey R. Erler                          William K. Flynn
   shawna.eikenberry@faegrebd.com        jerler@ghjhlaw.com                        wkflynn@strausstroy.com
   Robert Hughes Foree                   Sandra D. Freeburger                      Melissa S. Giberson
   robertforee@bellsouth.net             sfreeburger@dsf-atty.com                  msgiberson@vorys.com
   Thomas P. Glass                       Patrick B. Griffin                        Terry E. Hall
   tpglass@strausstroy.com               patrick.griffin@kutakrock.com             terry.hall@faegrebd.com
   Paul M. Hoffman                       John David Hoover                         John Huffaker
   paul.hoffmann@stinsonleonard.com      jdhoover@hooverhull.com                   john.huffaker@sprouselaw.com
   Jeffrey L Hunter                      Jay Jaffe                                 James Bryan Johnston
   jeff.hunter@usdoj.gov                 jay.jaffe@faegrebd.com                    bjtexas59@hotmail.com
   Todd J. Johnston                      Jill Zengler Julian                       Jay P. Kennedy
   tjohnston@mcjllp.com                  Jill.Julian@usdoj.gov                     jpk@kgrlaw.com
   Edward M King                         James A. Knauer                           Erick P. Knoblock
   tking@fbtlaw.com                      jak@kgrlaw.com                            eknoblock@daleeke.com
   Theodore A. Konstantinopoulos         Randall D. LaTour                         David A. Laird
   ndohbky@jbandr.com                    rdlatour@vorys.com                        david.laird@moyewhite.com
   David L. LeBas                        Martha R. Lehman                          Scott R. Leisz
   dlebas@namanhowell.com                mlehman@kdlegal.com                       sleisz@bgdlegal.com
   Elliott D. Levin                      Kim Martin Lewis                          James B. Lind
   edl@rubin-levin.net                   kim.lewis@dinslaw.com                     jblind@vorys.com
   Karen L. Lobring                      Jason A. Lopp                             John Hunt Lovell
   lobring@msn.com                       jlopp@wyattfirm.com                       john@lovell-law.net
   Harmony A. Mappes                     John Frederick Massouh                    Michael W. McClain
   harmony.mappes@faegrebd.com           john.massouh@sprouselaw.com               mmcclain@mcclaindewees.com
   Kelly Greene McConnell                James Edwin McGhee                        Brian H. Meldrum
   lisahughes@givenspursley.com          mcghee@derbycitylaw.com                   bmeldrum@stites.com
 William Robert Meyer, II                     Kevin J. Mitchell                   Terrill K. Moffett
 rmeyer@stites.com                            kevin.mitchell@faegrebd.com         kendalcantrell@moffettlaw.com
 Allen Morris amorris@stites.com              Judy Hamilton Morse                 Erin Casey Nave
                                              judy.morse@crowedunlevy.com         enave@taftlaw.com
 Matthew Daniel Neumann                       Walter Scott Newbern                Shiv Ghuman O'Neill
 mneumann@hhclaw.com                          wsnewbern@msn.com                   shiv.oneill@faegrebd.com


                                                         6
Case 10-93904-BHL-11                 Doc 2591     Filed 06/06/14            EOD 06/06/14 15:33:49          Pg 7 of 7


 Matthew J. Ochs                                Jessica Lynn Olsheski                Michael Wayne Oyler
 kim.maynes@moyewhite.com                       jessica.olsheski@justice-law.net     moyler@rwsvlaw.com
 Ross A. Plourde                                Brian Robert Pollock                 Wendy W. Ponader
 ross.plourde@mcafeetaft.com                    bpollock@stites.com                  wendy.ponader@faegrebd.com
 Timothy T. Pridmore                            Anthony G. Raluy                     Eric C. Redman
 tpridmore@mcjllp.com                           traluy@fbhlaw.net                    ksmith@redmanludwig.com
 Eric W. Richardson                             Joe T. Roberts                       David Cooper Robertson
 ewrichardson@vorys.com                         jratty@windstream.net                crobertson@stites.com
 Mark A. Robinson                               Jeremy S. Rogers                     John M. Rogers johnr@rubin-
 mrobinson@vhrlaw.com                           Jeremy.Rogers@dinslaw.com            levin.net
 Joseph H. Rogers                               James E. Rossow jim@rubin-           Steven Eric Runyan
 jrogers@millerdollarhide.com                   levin.net                            ser@kgrlaw.com
 Niccole R. Sadowski                            Thomas C. Scherer                    Stephen E. Schilling
 nsadowski@thbklaw.com                          tscherer@bgdlegal.com                seschilling@strausstroy.com
 Ivana B. Shallcross                            Sarah Elizabeth Sharp                Suzanne M Shehan
 ishallcross@bgdlegal.com                       sarah.sharp@faegrebd.com             suzanne.shehan@kutakrock.com
 James E. Smith, Jr.                            William E. Smith, III wsmith@k-      Amanda Dalton Stafford
 jsmith@smithakins.com                          glaw.com                             ads@kgrlaw.com
 Joshua N. Stine kabritt@vorys.com              Andrew D. Stosberg                   Matthew R. Strzynski
                                                astosberg@lloydmc.com                indyattorney@hotmail.com
 Meredith R. Theisen                            John M. Thompson                     Kevin M. Toner
 mtheisen@daleeke.com                           john.thompson@crowedunlevy.com       kevin.toner@faegrebd.com
 Christopher M. Trapp                           Chrisandrea L. Turner                U.S. Trustee
 ctrapp@rubin-levin.net                         clturner@stites.com                  ustpregion10.in.ecf@usdoj.gov
 Andrew James Vandiver                          Andrea L. Wasson                     Jennifer Watt jwatt@kgrlaw.com
 avandiver@aswdlaw.com                          andrea@wassonthornhill.com
 Stephen A. Weigand                             Charles R. Wharton                   Sean T. White
 sweigand@ficlaw.com                            Charles.R.Wharton@usdoj.gov          swhite@hooverhull.com
 Michael Benton Willey                          Jason P. Wischmeyer                  James T. Young james@rubin-
 michael.willey@ag.tn.gov                       jason@wischmeyerlaw.com              levin.net


         I further certify that on June 6, 2014, a copy of the foregoing pleading was
   served via electronic mail transmission on the following:

     Thomas Richard Alexander, II
     tra@rgba-law.com


                                                         /s/ Jay P. Kennedy
                                                        Jay P. Kennedy, Attorney No. 5477-49
                                                        Counsel for James A. Knauer, Trustee

 KROGER, GARDIS & REGAS, LLP
 111 Monument Circle, Suite 900
 Indianapolis, Indiana 46204-5125
 (317) 692-9000 Telephone




                                                            7
